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Attorneys for United States of America

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, Case No. Af - ey O\ll “TUS
Plaintiff,
Vv. PLEA AGREEMENT

ALEXANDER BRIAN FOSTER,

Defendant.

 

IT IS HEREBY AGREED between the plaintiff, UNITED STATES OF
AMERICA, through its counsel, RANDY 8S. GROSSMAN, United States Attorney,
and Joseph S. Green and Alexandra F. Foster, Assistant United States
Attorneys, and Defendant Alexander Brian Foster, with the advice and
H consent of Jami L. Ferrara, counsel for Defendant, as follows:

I
THE PLEA

Defendant agrees to plead guilty to an Information charging

| perendant with Conspiracy to Commit an Offense Against the United

States, in violation of Title 18, United States Code, § 371, to wit

Stalking, in violation of Title 18, United States Code, § 2261A(2) ({B).

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NATURE OF THE OFFENSE

A. ELEMENTS EXPLAINED

 

The offense to which Defendant is pieading guilty has the following
elements:

1. From approximately June 2019 to september 2019, there was an
agreement between two or more persons to engage in Stalking, in
violation of Title 18, United States Code, § 2261A(2) (B).

2. The defendant became a member of the conspiracy knowing at
least one of its objects and intending to help accomplish it.

3. One of the members of the conspiracy performed at least one
overt act for the purpose of carrying out the conspiracy.

An individual commits Stalking when, with the intent to kill,
injure, or harass, he uses the mail, any interactive computer service,
or any facility of interstate or foreign commerce to engage in a course
of conduct that causes substantial. emotional distress to another person
or places that person in reasonable fear of the death of, or serious
bodily injury to that person, that person's immediate family, or that
person's spouse or intimate partner. United States v. Grob, 625 F.3d
1209, 1218 (9th Cir. 2010). The term “course of conduct” means a pattern
of conduct composed of 2 or more acts, evidencing a continuity of
purpose. 16 U.S.C § 2266(2).

B. ELEMENTS UNDERSTOOD AND ADMITTED — FACTUAL BASIS

Defendant has fully discussed the facts of this case with defense
counsel. Defendant has committed each element of the crime and admits

that there is a factual basis for this guilty plea. The following facts

are true and undisputed:

 

 

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Plea Agreement

From approximately mid-2017 to October 2019, in the
Southern District of California, Defendant was employed
as a camera operator by Michael Pratt and Matthew Wolfe,
the operators of the adult pornography websites
GirlsDoPorn (GDP) and GirlsDoToys {(GDT). Defendant
filmed approximately one hundred videos for GDP, GDT,
and another related pornography website.

In 2016, twenty-two women who had been recruited to
appear as models in GDP and GDT videos brought a legal
action against Pratt, Wolfe, and others for fraud,
concealment, false promise, misappropriation of
likeness, and other violations of California law. The
women sought to maintain their anonymity and were
identified throughout the lawsuit as Jane Does 1 through
22.

The lawsuit alleged that Pratt, Wolfe, and others used
fraud and other deceptive and coercive practices to
recruit the plaintiffs to appear in adult videos for GDP
and GDT. The case proceeded to trial beginning in
approximately August 2019 and resulted in a judgment in
favor of the plaintiffs.

In approximately mid-2019, during the pendency of the
civil lawsuit, Wolfe and Pratt hired Defendant to create
and edit a video entitled “22 Whores and 5 Shady
Lawyers,” referring to the twenty-two plaintiffs and
their lawyers. Wolfe and Pratt intended to release the

video on the internet.

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Plea Agreement

Wolfe provided Defendant with a script for the video and
told Defendant that he could make extra money for editing
the video on top of what he earned as a camera operator.
After receiving the script, Defendant reviewed the
script with Pratt by phone or secured electronic
communications.

According to the video script, the first screen of the
video was to read, “22 Whores + 5 Shady hawyers VS
GirlisDoPorn[.] Share and spread this video as far and
wide as possible.” The next scene read, “Girlsdoporn has
been silent for 3 years now we will expose EVERYTHING &
Everyone. Watch the entire video - trust me.”

The script provided to “Put each girls [sic] full name
and location on screen before rolling there [sic] shit,”
referring to the derogatory and potentially embarrassing
information that Pratt and Wolfe wanted included about
the women in the video. The script also called for
pictures of the plaintiffs’ attorneys to be included,
along with disparaging information about the attorneys.
According to the script, the final scene of the video
was to read, “Ask yourself how viral these videos will
go now if nobody is controlling them . . . . Good job
:)[.]” Defendant worked on editing the video and adding
portions of the plaintiffs’ depositions from the civil
litigation. Defendant admits that the video was intended

to intimidate the plaintiffs and retaliate against them

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The
following

A.

for bringing a legal action against Pratt and Wolfe by
identifying them in a very public manner.

8. Defendant admits that the video was intended to be
distributed on the internet through multiple venues and
on more than one occasion and that the release of the
video was intended to cause the plaintiffs substantial
emotional distress. Defendant further admits that the
intended release of the video was a part of a larger
effort by Pratt and Wolfe to harass the plaintiffs over
the internet.

9. Defendant did not complete editing the video, and the
video did not get posted on the internet.

ZIT
PENALTIES .

crime to which Defendant is pleading guilty carries the

penalties:

a maximum 5 years in prison;

a maximum $250,000 fine;

a mandatory special assessment of $100 per count;

a maximum term of supervised release of 3 years. Defendant

understands that failure to comply with any of the conditions

of supervised release may result in revocation of supervised
release, requiring defendant to serve in prison, upon any
such revocation, all or part of the statutory maximum term of
supervised release for the offense that resulted in such term

of supervised release.

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DEFENDANT'S WAIVER OF TRIAL RIGHTS AND
UNDERSTANDING OF CONSEQUENCES

This guilty plea waives Defendant’s right at trial to:
A. Continue to plead not guilty and require the Government to
prove the elements of the crime beyond a reasonable doubt;

B. A speedy and public trial by jury;

Cc. The assistance of counsel at all stages;
D. Confront and cross-examine adverse witnesses;
BE. Testify and present evidence and to have witnesses testify on

behalf of Defendant; and,
EF. Not testify or have any adverse inferences drawn from the

failure to testify.
Vv

DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION

Any information establishing the factual innocence of Defendant
known to the undersigned prosecutor in this case has been turned over
to Defendant. The Government will continue to provide such information
establishing the factual innocence of Defendant.

If this case proceeded to trial, the Government would be required
to provide impeachment information for its witnesses. In addition, if
Defendant raised an affirmative defense, the Government would be
required to provide information in its possession that supports such a
defense. By pleading guilty Defendant will’ not be provided this
information, if any, and Defendant waives any right to this information.
Defendant will not attempt to withdraw the guilty plea or to file a

collateral attack based on the existence of this information.

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vi

DEFENDANT'S REPRESENTATION THAT GUILTY
PLEA IS KNOWING AND VOLUNTARY

Defendant represents that:

A. Defendant has had a fuil opportunity to discuss all the facts
and circumstances of this case with defense counsel and has
a clear understanding of the charges and the consequences of
this plea. By pleading guilty, Defendant may be giving up,
and rendered ineligible to receive, valuable government
benefits and civic rights, such as the right to vote, the
right to possess a firearm, the right to hold office, and the
right to serve on a jury. The conviction in this case may
subject Defendant to various collateral consequences,
including but not limited to revocation of probation, parole,
or supervised release in another case; debarment from
government contracting; and suspension or revocation of a
professional license, none of which can serve as grounds to
withdraw Defendant’s guilty plea.

B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
agreement or otherwise disclosed to the Court.

Cc. No one has threatened Defendant or Defendant's family to
induce this guiity plea.

D. Defendant is pleading guilty because Defendant is guilty and
for no other reason.

VIL

AGREEMENT LIMITED TO U.S. ATTORNEY’S OFFICE
SOUTHERN DISTRICT OF CALIFORNIA

This plea agreement is limited to the United States Attorney’s
Office for the Southern District of California, and cannot bind any
other authorities in any type of matter, although the Government will
bring this plea agreement to the attention of other authorities if

requested by Defendant.

 

 

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VIIL
APPLICABILITY OF SENTENCING GUTDELINES

The sentence imposed will be based on the: factors set forth in 18
U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must
consult the United States Sentencing Guidelines (Guidelines) and take
them into account. Defendant has discussed the Guidelines with defense
counsel and understands that the Guidelines are only advisory, not
mandatory. The Court may impose a sentence more severe or less severe
than otherwise applicable under the Guidelines, up to the maximum in
the statute of conviction. The sentence cannot be determined until a
presentence report is prepared by the U.S. Probation Office and defense
counsel and the Government have an opportunity to review and challenge
the presentence report. Nothing in this plea agreement limits the
Government’s duty to provide complete and accurate facts to the district
court and the U.S. Probation Office.

Ix
SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

This plea agreement is made pursuant to Federal Rule of Criminal
Procedure 11(c) (1) (B). The sentence is within the sole discretion of
the sentencing judge who may impose the maximum sentence provided by
statute. It is uncertain at this time what Defendant’s sentence will
be. The Government has not made and will not make any representation
about what sentence Defendant will receive. Any estimate of the probable
sentence by defense counsel is not a promise and is not binding on the
Court. Any recommendation by the Government at sentencing also is not

binding on the Court. If the sentencing judge does not follow any of

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the parties’ sentencing recommendations, Defendant will not withdraw

the plea.
x
PARTIES’ SENTENCING RECOMMENDATIONS

 

A. SENTENCING GUIDELINE CALCULATIONS

 

Although the Guidelines are only advisory and just one factor the
Court will consider under 18 U.S.C. § 3553(a) in imposing a sentence,
the parties will jointly recommend the following Base Offense Level,

Specific Offense Characteristics, Adjustments, and Departures:

1. Base Offense Level [§§ 2x]1.1, 2A6.2] 18
2. Minor Role [§ 3B1.2(b)] -2
3. Acceptance of Responsibility [§ 3E1.1] -3

B. ACCEPTANCE OF RESPONSIBILITY

 

Despite paragraph A above, the Government need not recommend an
adjustment for Acceptance of Responsibility if Defendant engages in
conduct inconsistent with acceptance of responsibility including, but
not limited to, the following:

1. Fails to truthfully admit a complete factual basis as
stated in the plea at the time ‘the plea is entered, or
falsely denies, or makes a statement inconsistent with,
the factual basis set forth in this agreement;

2. Falsely denies prior criminal conduct or convictions;

3. Is untruthful with the Government, the Court or
probation officer; or

4, Breaches this plea agreement in any way.

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Cc. FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE
UNDER 18 U.S.C. § 3553

 

Defendant may request or recommend additional downward
adjustments, departures, or variances from the Sentencing Guidelines
under 18 U.S.C. § 3553. The Government may oppose any downward
adjustments, departures, or variances not set forth in Section X,
Paragraph A above.

Dd. NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

The parties have no agreement as to Defendant’s Criminal History
Category.

E. “FACTUAL BASIS” AND “RELEVANT CONDUCT” INFORMATION

The facts in the “factual basis” paragraph of this agreement are
true and may be considered as “relevant conduct” under USSG § 1B1.3 and
as the nature and circumstances of the offense under 18 U.S.C.
§ 3553(a) (1).

r. PARTIES’ RECOMMENDATIONS REGARDING CUSTODY

 

The Government will recommend that Defendant be sentenced to the
low end of the advisory guideline range, as calculated by the
Government.

G. SPECIAL ASSESSMENTS /FINE/RESTITUTION

1. Special Assessments
The parties will jointly recommend that Defendant pay a special
assessment in the amount of $100.00 per felony count of conviction.
2. Fine
The parties will not recommend imposition of a fine.
3. Restitution
An order of restitution may be ordered in an amount determined by

the court.

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H. SUPERVISED RELEASE

 

If the Court imposes a term of supervised release, Defendant will
not seek to reduce or terminate early the term of supervised release
until Defendant has served at least 2/3 of the term of supervised
release and has fully paid and satisfied any special assessments, fine,
criminal forfeiture judgment, and restitution judgment.

XI
DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

Defendant waives (gives up) all rights to appeal and to
collaterally attack every aspect of the conviction and sentence. This
waiver includes, but is not limited to, any argument that the statute
of conviction or Defendant’s prosecution is unconstitutional and any
argument that the facts of this case do not constitute the crime
charged. The only exception is that Defendant may collaterally attack
the conviction or sentence on the basis that Defendant received
ineffective assistance of counsel. If Defendant appeals, the Government
May support on appeal the sentence or restitution order actually
imposed.

XIE
BREACH OF THE PLEA AGREEMENT

Defendant and Defendant’s attorney know the terms of this agreement
and shall raise, before the sentencing hearing is complete, any claim
that the Government has not complied with this agreement. Otherwise,
such claims shall be deemed waived (that is, deliberately not raised
despite awareness that the claim could be raised), cannot later be made
to any court, and if later made to a court, shall constitute a breach

of this agreement.

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Defendant breaches this agreement if Defendant violates or fails
to perform any obligation under this agreement. The following are non-
exhaustive examples of acts constituting a breach:

1. Failing to plead guilty pursuant to this agreement;

2. Failing to fully accept responsibility as established in
Section X, paragraph B, above;

3. Failing to appear in court;

4. Attempting to withdraw the plea;

5. Failing to abide by any court order related to this case;

6. Appealing (which occurs if a notice of appeal is filed)
or collaterally attacking the conviction or sentence in
violation of Section XI of this plea agreement; or

7. Engaging in additional criminal conduct from the time of
arrest untii the time of sentencing.

If Defendant breaches this plea agreement, Defendant will not be
able to enforce any provisions, and the Government will be relieved of
all its obligations under this plea agreement. For example, the
Government may proceed to sentencing but recommend a different sentence
than what it agreed to recommend above. Or the Government may pursue
any charges including those that were dismissed, promised to be
dismissed, or not filed as a result of this agreement (Defendant agrees
that any statute of limitations relating to such charges is tolled
indefinitely as of the date all parties have signed this agreement;
Defendant also waives any double jeopardy defense to such charges). In
addition, the Government may move to set aside Defendant's guilty plea.
Defendant may not withdraw the guilty plea based on the Government’s

pursuit of remedies for Defendant’s breach.

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Additionally, if Defendant breaches this plea agreement: (i) any
statements made by Defendant, under oath, at the guilty plea hearing
(before either a Magistrate Judge or a District Judge); (ii) the factual
basis statement in Section II-B in this agreement; and (iii) any
evidence derived from such statements, are admissible against Defendant
in any prosecution of, or any action against, Defendant. This includes
the prosecution of the charge(s) that is the subject of this plea
agreement or any charge(s) that the prosecution agreed to dismiss or
not file as part of this agreement, but later pursues because of a
breach by the Defendant. Additionally, Defendant knowingly,
voluntarily, and intelligently waives any argument that the statements
and any evidence derived from the statements should be suppressed,
cannot be used by the Government, or are inadmissible under the United
States Constitution, any statute, Rule A410 of the Federal Rules of
Evidence, Rule 11(f) of the Federal Rules of Criminal Procedure, and
any other federal rule.

XIII
CONTENTS AND MODIFICATION OF AGREEMENT

This plea agreement embodies the entire agreement between the
parties and supersedes any other agreement, written ofr oral. No
modification of this plea agreement shall be effective unless in writing

signed by all parties.

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XIV
DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT
By signing this agreement, Defendant certifies that Defendant has
read it (or that it has been read to Defendant in Defendant’s native
language). Defendant has discussed the terms of this agreement with
defense counsel and fully understands its meaning and effect.
av
DEFENDANT SATISFIED WITH COUNSEL
Defendant has consulted with counsel and is satisfied with
counsel’s representation. This is Defendant’s independent opinion, and
Defendant’s counsel did not advise Defendant about what to say in this
regard.
RANDY S. GROSSMAN
United States Attorney
O\far [2% / poo
DATED © OSEPH S. GREEN
ATEXANDRA F. FOSTER
Assistant U.S. Wa
de | ory
DATED IL. { 4c
Defense Counsel
IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
PENALTY OF PERJURY THAT THE FACTS IN THE “FACTUAL BASIS” SECTION ABOVE
ARE TRUE.
|- Z4- 2623 ld
DATED ALEXANDER BRIAN FOSTER
Defendant

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